          Case 2:24-cv-00289-NJC-ST Document 5 Filed 01/16/24 Page 1 of 6 PageID #: 23

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                i    Eastern District of New York      i
                      JOHN JENNOSA                                  )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 2:24CV00289 (NJC)(ST)
                                                                    )
  STATE MATERIAL MASON SUPPLY, LLC, STATE
                                                                    )
  MATERIAL MASON SUPPLY, CORP., and FRANK
                  NICOLIA
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMOS I A CIVIL ACTIO

To: (Defendant’s name and address)STATE MATERIAL MASON SUPPLY LLC
                                      243 GRAND BOULEVARD
                                      WESTBURY, NY 11757




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you


-
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: LAW OFFICES OF SHELLY A. LEONARD, P.C.
                                      23 GREEN STREET
                                      SUITE 303
                                      HUNTINGTON, NY 11743
                                      SLEONARD@SALPC.LAW


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               Brenna B. Mahoney
                                                                              CLERK OF COURT


Date:       1/16/2024
                                                                                       Signature off C
                                                                                                     Clerk
                                                                                                       lerk or Deputy
                                                                                                               D uty Clerk
           Case 2:24-cv-00289-NJC-ST Document 5 Filed 01/16/24 Page 2 of 6 PageID #: 24

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.2:24CV00289(NJC)(ST)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
          Case 2:24-cv-00289-NJC-ST Document 5 Filed 01/16/24 Page 3 of 6 PageID #: 25

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                i    Eastern District of New York      i
                      JOHN JENNOSA                                  )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 2:24CV00289 (NJC)(ST)
                                                                    )
  STATE MATERIAL MASON SUPPLY, LLC, STATE
                                                                    )
  MATERIAL MASON SUPPLY, CORP., and FRANK
                  NICOLIA
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMOS I A CIVIL ACTIO

To: (Defendant’s name and address)STATE MATERIAL MASON SUPPLY CORP.
                                      243 GRAND BOULEVARD
                                      WESTBURY, NY 11757




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you


-
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: LAW OFFICES OF SHELLY A. LEONARD, P.C.
                                      23 GREEN STREET
                                      SUITE 303
                                      HUNTINGTON, NY 11743
                                      SLEONARD@SALPC.LAW


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                              Brenna B. Mahoney
                                                                              CLERK OF COURT


Date:       1/16/2024
                                                                                       Signature off C
                                                                                                     Clerk
                                                                                                       l rk or Deputy
                                                                                                       le      D puty Clerk
           Case 2:24-cv-00289-NJC-ST Document 5 Filed 01/16/24 Page 4 of 6 PageID #: 26

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.2:24CV00289 (NJC)(ST)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

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                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
          Case 2:24-cv-00289-NJC-ST Document 5 Filed 01/16/24 Page 5 of 6 PageID #: 27

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                i    Eastern District of New York      i
                      JOHN JENNOSA                                  )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 2:24CV00289 (NJC)(ST)
                                                                    )
  STATE MATERIAL MASON SUPPLY, LLC, STATE
                                                                    )
  MATERIAL MASON SUPPLY, CORP., and FRANK
                  NICOLIA
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMOS I A CIVIL ACTIO

To: (Defendant’s name and address)FRANK NICOLIA
                                      243 GRAND BOULEVARD
                                      WESTBURY, NY 11757




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you


-
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
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whose name and address are: LAW OFFICES OF SHELLY A. LEONARD, P.C.
                                      23 GREEN STREET
                                      SUITE 303
                                      HUNTINGTON, NY 11743
                                      SLEONARD@SALPC.LAW


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You also must file your answer or motion with the court.

                                                                              Brenna B. Mahoney
                                                                              CLERK OF COURT


Date:          1/16/2024
                                                                                       Signature off C
                                                                                                     Clerk
                                                                                                       lerk or Deputy
                                                                                                               D puty Clerk
           Case 2:24-cv-00289-NJC-ST Document 5 Filed 01/16/24 Page 6 of 6 PageID #: 28

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.2:24CV00289 (NJC)(ST)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
